         Case 22-30987 Document 2 Filed in TXSB on 04/12/22 Page 1 of 13




                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

                                                  )
In re:                                            )   Chapter 11
                                                  )
ION GEOPHYSICAL CORPORATION,                      )   Case No. 22-30987 (MI)
                                                  )
                           Debtor.                )
                                                  )
Tax I.D. No. XX-XXXXXXX                           )
                                                  )
In re:                                            )   Chapter 11
                                                  )
GX TECHNOLOGY CORPORATION                         )   Case No. 22-90030 (MI)
                                                  )
                           Debtor.                )
                                                  )
Tax I.D. No. XX-XXXXXXX                           )
                                                  )
In re:                                            )   Chapter 11
                                                  )
I/O MARINE SYSTEMS INC.                           )   Case No. 22-90029 (MI)
                                                  )
                           Debtor.                )
                                                  )
Tax I.D. No. XX-XXXXXXX                           )
                                                  )
In re:                                            )   Chapter 11
                                                  )
ION EXPLORATION PRODUCTS (U.S.A.), INC.           )   Case No. 22-90031 (MI)
                                                  )
                           Debtor.                )
                                                  )
Tax I.D. No. XX-XXXXXXX                           )

              DEBTORS’ EMERGENCY MOTION FOR ENTRY OF
            AN ORDER (I) DIRECTING JOINT ADMINISTRATION OF
         THE CHAPTER 11 CASES, AND (II) GRANTING RELATED RELIEF

    Emergency relief has been requested. A hearing will be conducted on this matter on
    April 13, 2022 at 1:30 p.m. (prevailing Central Time) in Courtroom 404, 4th floor,
    515 Rusk Avenue, Houston, Texas 77002. You may participate in the hearing either
    in person or by audio and video connection.
        Case 22-30987 Document 2 Filed in TXSB on 04/12/22 Page 2 of 13




     Audio communication will be by use of the Court’s dial-in facility. You may access
     the facility at 832-917-1510. Once connected, you will be asked to enter the
     conference room number. Judge Isgur’s conference room number is 954554. Video
     communication will be by use of the GoToMeeting platform. Connect via the free
     GoToMeeting application or click the link on Judge Isgur’s home page. The meeting
     code is “JudgeIsgur”. Click the settings icon in the upper right corner and enter
     your name under the personal information setting.

     Hearing appearances must be made electronically in advance of both electronic and
     in-person hearings. To make your appearance, click the “Electronic Appearance”
     link on Judge Isgur’s home page. Select the case name, complete the required fields
     and click “Submit” to complete your appearance.

     If you object to the relief requested or you believe that emergency consideration is
     not warranted, you must appear at the hearing, or file a written response prior to
     the hearing. Otherwise, the Court may treat the pleading as unopposed and grant
     the relief requested.

       The above-captioned debtors and debtors in possession (collectively, the “Debtors”) state

the following in support of this motion (this “Motion”):

                                        Relief Requested

       1.      The Debtors seek entry of an order, substantially in the form attached hereto (the

“Order”): (a) directing procedural consolidation and joint administration of these chapter 11 cases,

and (b) granting related relief. Specifically, the Debtors request that United States Bankruptcy

Court for the Southern District of Texas (the “Court”) maintain one file and one docket for all of

the jointly-administered cases under the case of ION Geophysical Corporation, and that the cases

be administered under a consolidated caption, as follows:




                                                 2
              Case 22-30987 Document 2 Filed in TXSB on 04/12/22 Page 3 of 13




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                              )
    In re:                                                    ) Chapter 11
                                                              )
    ION GEOPHYSICAL CORPORATION, et al.,1                     ) Case No. 22-30987 (MI)
                                                              )
                                    Debtors.                  ) (Jointly Administered)
                                                              )

             2.     The Debtors further request that this Court order that the foregoing caption satisfies

the requirements set forth in section 342(c)(1) of the Bankruptcy Code. The Debtors also request

that a docket entry, substantially similar to the following, be entered on the docket of each of the

Debtors and any related Debtor affiliates that subsequently commence chapter 11 cases, other than

ION Geophysical Corporation, to reflect the joint administration of these chapter 11 cases:

             An order has been entered in accordance with Rule 1015(b) of the Federal Rules of
             Bankruptcy Procedure and Rule 1015-1 of the Bankruptcy Local Rules for the
             United States Bankruptcy Court for the Southern District of Texas directing joint
             administration for procedural purposes only of the chapter 11 cases of: ION
             Geophysical Corporation, Case No. 22-30987; GX Technology Corporation, Case
             No. 22-90030; I/O Marine Systems Inc., Case No. 22-90029; and ION Exploration
             Products (U.S.A.), Inc., Case No. 22-90031. The docket in Case No. 22-30987
             (MI) should be consulted for all matters affecting this case. All further pleadings
             and other papers shall be filed in and all further docket entries shall be made
             in Case No. 22-30987 (MI).

                                          Jurisdiction and Venue

             3.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This

matter is a core proceeding within the meaning of 28 U.S.C. § 157(b). The Debtors confirm their

consent, pursuant to rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: ION Geophysical Corporation (6646); I/O Marine Systems, Inc. (3230); ION Exploration Products
(U.S.A.), Inc. (1394); and GX Technology Corporation (0115). The location of the Debtors’ service address is 4203
Yoakum Blvd., Suite 100, Houston, Texas 77006.
         Case 22-30987 Document 2 Filed in TXSB on 04/12/22 Page 4 of 13




Rules”), to the entry of a final order by the Court in connection with this Motion to the extent that

it is later determined that the Court, absent consent of the parties, cannot enter final orders or

judgments in connection herewith consistent with Article III of the United States Constitution.

       4.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       5.      The bases for the relief requested herein are sections 105(a) and 342(c) of title 11

of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), Bankruptcy Rule

1015(b), and rules 1015-1 and 9013-1 of the Bankruptcy Local Rules for the Southern District of

Texas (the “Local Rules”).

                                           Background

       6.      ION Geophysical Corporation (together with its Debtor and non-debtor

subsidiaries, collectively, “ION”) is an innovative, asset light global technology company that

delivers data-driven decision-making offerings to offshore energy and maritime operations

markets. Headquartered in Houston, Texas with regional offices around the world, ION operates

through two key business segments—Exploration and Production Technology & Services

(“EPTS”) and Operations Optimization (“OO”). Within the EPTS segment, ION creates digital

data assets on a proprietary and multi-client basis and delivers services to help exploration and

production companies improve decision-making, reduce risk, and maximize value. The OO

segment develops mission-critical software and technology that enable operational control and

optimization offshore. In that regard, ION provides survey design, command and control software

systems and related services for marine towed and seabed operations and develops intelligent

hardware and devices to optimize operations.

       7.      On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. A detailed description of the facts

and circumstances of these chapter 11 cases is set forth in the Declaration of Mike Morrison,

                                                 4
          Case 22-30987 Document 2 Filed in TXSB on 04/12/22 Page 5 of 13




Executive Vice President and Chief Financial Officer of ION Geophysical Corporation, in Support

of Chapter 11 Petitions and First Day Motions (the “First Day Declaration”),2 filed

contemporaneously with this Motion and incorporated by reference herein. The Debtors continue

to operate their business and manage their properties as debtors in possession pursuant to sections

1107(a) and 1108 of the Bankruptcy Code. Concurrently with the filing of this Motion, the Debtors

have requested procedural consolidation and joint administration of these chapter 11 cases

pursuant to Bankruptcy Rule 1015(b).

                                               Basis for Relief

        8.       Bankruptcy Rule 1015(b) provides, in pertinent part, that “[i]f . . . two or more

petitions are pending in the same court by or against . . . a debtor and an affiliate, the court may

order a joint administration of the estates.” Fed. R. Bankr. P. 1015. The Debtor entities that

commenced chapter 11 cases are “affiliates” as that term is defined in section 101(2) of the

Bankruptcy Code. Accordingly, the Bankruptcy Code and Bankruptcy Rules authorize the Court

to grant the relief requested herein.

        9.       Joint administration of these chapter 11 cases will provide significant

administrative convenience without harming the substantive rights of any party in interest. Many

of the motions, hearings, and orders in these chapter 11 cases will affect each Debtor entity. The

entry of an order directing joint administration of these chapter 11 cases will reduce fees and costs

by avoiding duplicative filings and objections. Joint administration also will allow the United

States Trustee for the Southern District of Texas (the “U.S. Trustee”) and all parties in interest to

monitor these chapter 11 cases with greater ease and efficiency.




2
    Capitalized terms used but not otherwise defined in this Motion have the meanings ascribed to them in the First
Day Declaration

                                                        5
         Case 22-30987 Document 2 Filed in TXSB on 04/12/22 Page 6 of 13




        10.     Joint administration will not adversely affect the Debtors’ respective constituencies

because this Motion seeks only administrative, not substantive, consolidation of the Debtors’

estates. Parties in interest will not be harmed by the relief requested, but instead will benefit from

the cost reductions associated with the joint administration of these chapter 11 cases. The joint

administration of these chapter 11 cases is in the best interests of the Debtors’ estates, their

creditors, and all other parties in interest.

                                      Emergency Consideration

        11.     Pursuant to Bankruptcy Rule 6003, which empowers a court to grant relief within

the first 21 days after the commencement of a chapter 11 case “to the extent that relief is necessary

to avoid immediate and irreparable harm,” the Debtors request emergency consideration of this

motion. The failure to receive the requested relief during the first 21 days of these chapter 11 cases

could cause significant inconvenience to the Court, the U.S. Trustee, the Debtors, and parties in

interest caused by separately administered cases. The Debtors submit that they have satisfied the

standard of Local Rule 9013-1 and request that the Court approve the relief requested in this

Motion on an emergency basis.

                                                Notice

        12.     The Debtors will provide notice of this Motion to: (a) the United States Trustee for

the Southern District of Texas; (b) the holders of the 30 largest unsecured claims against the

Debtors (on a consolidated basis); (c) the administrative agent under the Debtors’ prepetition

revolving credit facility and counsel thereto; (d) the indenture trustee for the Debtors’ 8.00%

secured second priority notes and counsel thereto; (e) the indenture trustee for the Debtors’ 9.125%

unsecured notes; (f) the United States Attorney’s Office for the Southern District of Texas; (g) the

Internal Revenue Service; (h) the United States Securities and Exchange Commission; (i) the state

attorneys general for states in which the Debtors conduct business; and (j) any party that has

                                                  6
         Case 22-30987 Document 2 Filed in TXSB on 04/12/22 Page 7 of 13




requested notice pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature

of the relief requested, no other or further notice need be given.


                           [Remainder of page intentionally left blank]




                                                  7
        Case 22-30987 Document 2 Filed in TXSB on 04/12/22 Page 8 of 13




       WHEREFORE, the Debtors request entry of the Order granting the relief requested herein

and such other relief the Court deems appropriate under the circumstances.


 Dated: April 12, 2022                               WINSTON & STRAWN LLP
 Houston, Texas
                                                     /s/ Katherine A. Preston
                                                     Katherine A. Preston (TX Bar No. 24088255)
                                                     800 Capitol St., Suite 2400
                                                     Houston, Texas 77002
                                                     Telephone: (713) 651-2600
                                                     Facsimile: (713) 651-2700
                                                     Email: kpreston@winston.com

                                                     and

                                                     Timothy W. Walsh (pro hac vice pending)
                                                     200 Park Avenue
                                                     New York, New York 10166
                                                     Telephone: (212) 294-6700
                                                     Facsimile: (212) 294-4700
                                                     E-mail: twwalsh@winston.com

                                                     and

                                                     Daniel J. McGuire (pro hac vice pending)
                                                     35 W. Wacker Drive
                                                     Chicago, Illinois 60601-9703
                                                     Telephone: (312) 558-3733
                                                     Facsimile: (312) 558-5700
                                                     Email: dmcguire@winston.com

                                                     Proposed Counsel to the Debtors and Debtors in
                                                     Possession
        Case 22-30987 Document 2 Filed in TXSB on 04/12/22 Page 9 of 13




                                    Certificate of Accuracy

        I certify that the foregoing statements are true and accurate to the best of my knowledge.
This statement is being made pursuant to Local Rule 9013-1(i).

                                             /s/ Katherine A. Preston
                                             Katherine A. Preston

                                      Certificate of Service

        I certify that on April 12, 2022, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                             /s/ Katherine A. Preston
                                             Katherine A. Preston
         Case 22-30987 Document 2 Filed in TXSB on 04/12/22 Page 10 of 13




                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

                                              )
In re:                                        )   Chapter 11
                                              )
ION GEOPHYSICAL CORPORATION,                  )   Case No. 22-30987 (MI)
                                              )
                           Debtor.            )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
GX TECHNOLOGY CORPORATION                     )   Case No. 22-90030 (MI)
                                              )
                           Debtor.            )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
I/O MARINE SYSTEMS INC.                       )   Case No. 22-90029 (MI)
                                              )
                           Debtor.            )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
ION EXPLORATION PRODUCTS (U.S.A.), INC.       )   Case No. 22-90031 (MI)
                                              )
                           Debtor.            )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )

               ORDER (I) DIRECTING JOINT ADMINISTRATION OF
          THE CHAPTER 11 CASES, AND (II) GRANTING RELATED RELIEF
            Case 22-30987 Document 2 Filed in TXSB on 04/12/22 Page 11 of 13




           Upon the motion (the “Motion”)1 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”), (a) directing the joint

administration of the Debtors’ chapter 11 cases for procedural purposes only, and (b) granting

related relief, all as more fully set forth in the Motion; and upon the First Day Declaration; and

this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this Court having

found that this is a core proceeding pursuant to 28 U.S.C. § 157(b); and that this Court may enter

a final order consistent with Article III of the United States Constitution; and this Court having

found that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in the best

interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court having

found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

a hearing before this Court (the “Hearing”); and this Court having determined that the legal and

factual bases set forth in the Motion and at the Hearing establish just cause for the relief granted

herein; and upon all of the proceedings had before this Court; and after due deliberation and

sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

           1.       The above-captioned chapter 11 cases are consolidated for procedural purposes

only and shall be jointly administered by the Court under Case No. 22-30987 (MI).

           2.       Additionally, the following checked items are ordered:

                    a.        One disclosure statement and plan of reorganization may be filed for all
                             cases by any plan proponent.




1
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


                                                           2
             Case 22-30987 Document 2 Filed in TXSB on 04/12/22 Page 12 of 13




                    b.       Parties may request joint hearings on matters pending in any of the
                            jointly administered cases.

                    c.       Other: See below.

             3.     The caption of the jointly administered cases shall read as follows:



                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                              )
    In re:                                                    ) Chapter 11
                                                              )
    ION GEOPHYSICAL CORPORATION, et al.,1                     ) Case No. 22-30987 (MI)
                                                              )
                                    Debtors.                  ) (Jointly Administered)
                                                              )

             4.     The foregoing caption satisfies the requirements set forth in section 342(c)(1) of

the Bankruptcy Code.

             5.     A docket entry, substantially similar to the following, shall be entered on the docket

of each of the Debtors, and any related Debtor affiliates that subsequently commence chapter 11

cases, other than ION Geophysical Corporation, to reflect the joint administration of these chapter

11 cases:

             An order has been entered in accordance with Rule 1015(b) of the Federal Rules of
             Bankruptcy Procedure and Rule 1015-1 of the Bankruptcy Local Rules for the
             United States Bankruptcy Court for the Southern District of Texas directing joint
             administration for procedural purposes only of the chapter 11 cases of: ION
             Geophysical Corporation, Case No. 22-30987; GX Technology Corporation, Case
             No. 22-90030; I/O Marine Systems Inc., Case No. 22-90029; and ION Exploration
             Products (U.S.A.), Inc., Case No. 22-90031. The docket in Case No. 22- 30987
             (MI) should be consulted for all matters affecting this case. All further pleadings


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: ION Geophysical Corporation (6646); I/O Marine Systems, Inc. (3230); ION Exploration Products
(U.S.A.), Inc. (1394); and GX Technology Corporation (0115). The location of the Debtors’ service address is 4203
Yoakum Blvd., Suite 100, Houston, Texas 77006.


                                                        3
        Case 22-30987 Document 2 Filed in TXSB on 04/12/22 Page 13 of 13




       and other papers shall be filed in and all further docket entries shall be made
       in Case No. 22-30987 (MI).

       6.      The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the Southern District of Texas shall keep, one consolidated docket, one file, and one

consolidated service list for these chapter 11 cases.

       7.      Any party in interest may request joint hearings on matters pending in any of these

chapter 11 cases.

       8.      Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 11 cases and this Order

shall be without prejudice to the rights of the Debtors to seek entry of an order substantively

consolidating their respective cases.

       9.      Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion, and the applicable requirements of the Bankruptcy Rules and the Bankruptcy

Local Rules are satisfied by such notice.

       10.     Notwithstanding any Bankruptcy Rule to the contrary, the terms and conditions of

this Order are immediately effective and enforceable upon its entry.

       11.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order.

       12.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

Houston, Texas
Dated:                         , 2022


                                                      UNITED STATES BANKRUPTCY JUDGE




                                                  4
